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                      IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW MEXICO

NEW MEXICO HEALTH                   )
CONNECTIONS,                        )
                                    )
        Plaintiff,                  )
                                    )
        v.                          )               No. 1:16-cv-00878 JB/JHR
                                    )
UNITED STATES DEPARTMENT OF         )
HEALTH AND HUMAN SERVICES,          )
et al.,                             )
                                    )
        Defendants.                 )
____________________________________)

                                            NOTICE

       Defendants respectfully file this Notice to inform the Court of additional developments that

may bear on the Court’s consideration of Defendants’ Rule 59(e) motion, ECF No. 57, which have

occurred since the Defendants’ most recent filing of July 25, 2018, ECF No. 81.

       HHS has issued a new Notice of Proposed Rulemaking (“NPRM”) concerning the risk

adjustment methodology for the 2018 benefit year. See Ex. A, Patient Protection and Affordable

Care Act: Adoption of the Methodology for the HHS-operated Permanent Risk Adjustment

Program for the 2018 Benefit Year Proposed Rule (CMS-9919-P), available at

https://www.federalregister.gov/documents/2018/08/10/2018-17142/patient-protection-and-

affordable-care-act-adoption-of-methodology-for-hhs-operated-permanent-risk.         This NPRM

proposes to adopt the risk adjustment methodology previously promulgated by the agency for the

2018 benefit year.   It also responds to the Court’s prior decision by providing additional

explanation of the agency’s use of statewide average premium in the risk adjustment payment
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transfer formula, as well as the risk adjustment program’s budget neutral design, and seeks

comment on these issues. See Ex. A at 7–15.

       Defendants also notify the Court that the 2017 benefit year rule previously submitted to the

Court, Ex. A to ECF No. 81, has now been published in the Federal Register with an effective date

of July 30, 2018. See 83 Fed. Reg. 36,456 (July 30, 2018).

       As stated in their previous notice concerning the new 2017 benefit year rule, Defendants

continue to urge the Court to grant their Rule 59(e) motion in full. Issuance of the new 2017 rule

and 2018 NPRM clearly does not moot the motion with respect to the 2014-2016 rules. Moreover,

the explanations that HHS provided in connection with the new 2017 rule and 2018 NPRM provide

additional reasons for the Court to grant the Rule 59(e) motion in its entirety. Thus, we ask the

Court to rule on the motion as soon as possible.

Dated: August 8, 2018                        Respectfully submitted,

                                             CHAD A. READLER
                                             Acting Assistant Attorney General

                                             DIANE KELLEHER
                                             Assistant Branch Director

                                             /s/ James Powers
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                               CERTIFICATE OF SERVICE

       I hereby certify that on August 8, 2018, I caused the foregoing document to be served on
counsel for plaintiff by filing with the court’s electronic case filing system.



                                                           /s/ James Powers
                                                           James R. Powers
